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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

     In re:
              GREENHUT, Andrew                         Chapter 13
              SS# xxx-xx-2515                          Case No. 19-10782-JEB
                    Debtor


        TRUSTEE’S OBJECTION TO CONFIRMATION OF DEBTOR’S AMENDED
                             CHAPTER 13 PLAN

          Now comes Carolyn Bankowski, Standing Chapter 13 Trustee (“Trustee”), and
respectfully objects to confirmation of the Debtor’s Amended Chapter 13 Plan, (the “Plan”), and
for reasons says as follows:
1.        On May 1, 2019, the Trustee convened the §341 meeting of creditors at which the Debtor
          was present with counsel. On June 1, 2020 the Debtor filed the Plan. The Trustee cannot
          recommend the Plan for confirmation.
2.        According to the Debtor’s Chapter 13 Statement of Current Monthly and Disposable
          Income (Form 22C), the Debtor has monthly disposable income of $1,747.06 which
          when multiplied by 60 months would provide the general unsecured creditors with a total
          payment of $104,836.60. The Debtor’s Plan proposes paying the unsecured creditors
          totaling $385,787.24 a 17.07% dividend which equals $65,852.40.
3.        According to amended Schedules I & J, the Debtor’s financial situation has changed due
          to the expected birth of a child in December 2020. The amended Schedule J adds an
          expense of $424.27 per month for furnishing a nursery which equals $25,440.00 over the
          term of the Plan and $80.14 x 60 for average purchases for infant care prior to birth. The
          aggregate cost total over $30,000.00. While the Trustee understands there will be
          additional costs, $30,000.00 to furnish a nursery and infant care items seems excessive.
4.        Further, the Debtor adds a child care expense of $1,956.79 per month but there is no
          contributions from fiancée to household expenses. IF the Debtor’s fiancée intends to
          return to work, there should be a contribution to household expenses. If the Debtor’s
          fiancée is not going to return to work, the child care expense appears overstated.
5.        The Trustee asserts the Plan does not satisfy the best efforts test set forth in 11 U.S.C.
          sec. 1325(b)(1)(B)
6.        Finally, the plan proposes a fixed percentage of 17.07% to estimated general unsecured
          claims totaling $385,787.24 but claims total over $500,000.00. The Debtor has objected
          to two (2) claims but if unsuccessful, the Plan will be non-feasible.
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        WHEREFORE, the Trustee requests that the Court sustain the objection to confirmation
and grant such other relief as is proper.

Dated: June 8, 2020
                                            Respectfully submitted,

                                            By: /s/ Carolyn Bankowski
                                            Carolyn Bankowski, BBO#631056
                                            Patricia A. Remer, BBO#639594
                                            Standing Chapter 13 Trustee
                                            Office of the Chapter 13 Trustee
                                            PO Box 8250
                                            Boston, MA 02114
                                            (617) 723-1313
                                            13trustee@ch13boston.com
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  In re:
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                 Debtor


                                     Certificate of Service

        The undersigned hereby certifies that on June 8, 2020, a copy of the Trustee’s Objection
to Debtors’ Chapter 13 Plan was served via first class mail, postage prepaid or by electronic
notice on the debtors and debtors counsel at the addresses set forth below.

       Andrew Greenhut
       21 Kingston Street
       Somerville, MA 02144

       Richard N. Gottlieb
       Law Offices of Richard N. Gottlieb
       Ten Tremont Street
       Suite 11, 3rd Floor
       Boston, MA 02108



                                                    /s/ Carolyn Bankowski
